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 5 Attorney for:
   TIFFANY BROWN
 6

 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                     EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                            CASE NO. 2:11-CR-00190-MCE

11                                   Plaintiff,           STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
12                            v.                          FINDINGS AND ORDER TO CONTINUE CASE
                                                          TO 12/4/14 AT 9:00 A.M.
13   TIFFANY BROWN,
     NICHOLAS RAMIREZ
14                                   Defendants

15
                                                     STIPULATION
16
            Plaintiff United States of America, by and through its counsel of record, and defendant Tiffany
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     Brown, by and through her counsel of record, and defendant Nicholas Ramirez, by and through his
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     Counsel of Record, Michael Bigelow, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on September 11, 2014.
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            2.      By this stipulation, defendant now moves to continue the status conference until
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     December 4, 2014, and to exclude time between September 11, 2014, and December 4, 2014, under
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     Local Code T4. Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)       Counsel for defendants and the Government desire additional time to investigate
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            the roles of each of the respective clients, assess whether the client’s qualify for safety valve,
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            continue to conduct investigation, continue to engage in negotiations with the Government in an
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            effort to reach a plea agreement, and to otherwise prepare for trial. Counsel for defendants
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      Stip. & Order Continuing Status Conf. & Excluding   1
      Time Periods Under Speedy Trial Act
               Case 2:11-cr-00190-KJM Document 199 Filed 09/11/14 Page 2 of 3


 1           believe that failure to grant the above-requested continuance would deny them the reasonable

 2           time necessary for effective preparation, taking into account the exercise of due diligence.

 3                   b)       The government does not object to the continuance.

 4                   c)       Based on the above-stated findings, the ends of justice served by continuing the

 5           case as requested outweigh the interest of the public and the defendant in a trial within the

 6           original date prescribed by the Speedy Trial Act.

 7                   d)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8           et seq., within which trial must commence, the time period of September 11, 2014, to December

 9           4 , 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

10           Code T4] because it results from a continuance granted by the Court at defendant’s request on

11           the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

12           best interest of the public and the defendant in a speedy trial.

13           4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

14 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

15 must commence.

16
17           IT IS SO STIPULATED.

18 Dated: September 9, 2014                                    BENJAMIN B. WAGNER
                                                               United States Attorney
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20                                                             /s/ Jason Hitt
                                                               JASON HITT
21                                                             Assistant United States Attorney

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       Stip. & Order Continuing Status Conf. & Excluding   2
       Time Periods Under Speedy Trial Act
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 2 Dated: September 9, 2014                                    /s/ Dina L. Santos
                                                               DINA SANTOS, ESQ.
 3                                                             Attorney for Tiffany Brown

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 5
 6 Dated: September 9, 2014                                    /s/ Michael Bigelow
                                                               MICHAEL BIGELOW, ESQ.
 7                                                             Attorney for Nicholas Ramirez
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12                                                       ORDER

13         IT IS SO FOUND AND ORDERED.

14 Dated: September 11, 2014

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     Stip. & Order Continuing Status Conf. & Excluding     3
     Time Periods Under Speedy Trial Act
